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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                           LITTLE ROCK DIVISION

TERESA BLOODMAN                                                           PLAINTIFF

vs.                             CASE NO. 4:18-CV-00282-KGB

ARKANSAS SUPREME COURT
COMMITTEE ON PROFESSIONAL
CONDUCT, et al.                                                        DEFENDANTS

        PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE A
           RESPONSE TO DEFENDANTS’ MOTION TO DISMISS

         Pursuant to Rule 6 of the Federal Rules of Civil Procedure, Plaintiff files this

motion for extension of time to file a response in opposition to defendant’s motion

to dismiss and states:

      1. On April 30, 2018, Plaintiff filed a Complaint in this matter. (Dkt. No. 1).

      2. On May 29, 2018, Defendants filed a Motion to Dismiss. (Dkt. No. 3).

      3. Plaintiff‘s time to respond has not yet passed.

      4. That due to computer problems Plaintiff is unable to prepare a response in a

timely manner.

      5. Given the significance and complexity of the issues involved, the

Plaintiff is in need of an additional twenty (20) days to respond.

      6. That the Plaintiff is not making this motion for the purpose of delay, but is

in the best interest of justice. This is ‘good cause”.

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   7. Prior to filing this motion, Plaintiff attempted to confer with opposing

counsel at 501-682-1317. With no response, opposing counsel was notified of this

request by voicemail.

      WHEREFORE, the undersigned prays that this Court grant an extension of

time of twenty (20) days in which to respond to the Motion to Dismiss filed herein

and for all other proper and just relief.


                                                Respectfully submitted,

                                                /s/Teresa Bloodman, #2005055
                                                Pro Se
                                                P.O. Box 13641
                                                Maumelle, AR 72113
                                                (870) 550-1940 Direct
                                                teresabloodman@yahoo.com

                               CERTIFICATE OF SERVICE

      I, Teresa Bloodman, pro se, hereby certify that I have electronically filed a
correct copy of the foregoing with the District Court Clerk on this 11th day of
June, 2018 using the CM/ECF system. Copies will be electronically served using
CM/ECF system notification on participants:

Mr. William Byrd
AR Attorney General’s Office
323 Center Street, Suite 200
Little Rock, AR 72201
501-682-1317
william.bird@arkansasAG.gov
                                                            /s/Teresa Bloodman




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